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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA



United States of America,
                                                       Crim. No. 20-113-1 (DSD/BRT)
                      Plaintiff,

v.
                                                                   ORDER
Jose A. Felan, Jr.,

                      Defendant.


       This matter is before the Court on Defendant’s Motion for an Extension of The

Motions Filing Date (Doc. No. 57) and Statement of Facts in Support of Exclusion of

Time Under the Speedy Trial Act (Doc. No. 58).

       For good cause shown, the motion is granted. The June 9, 2021 hearing is

canceled and continued to August 18, 2021, beginning at 9:00 a.m. In order to allow

both the Government and defense counsel sufficient time to review the discovery and

prepare for trial under the circumstances, and pursuant to 18 U.S.C. § 3161(h)(7)(B)(i)

and (iv), the Court finds that the ends of justice served by the granting of such

continuance outweigh the best interest of the public and the Defendant in a speedy trial.

This finding is based on the facts set forth in Defendant’s Motion for an Extension of The

Motions Filing Date (Doc. No. 57) and Statement of Facts in Support of Exclusion of

Time Under the Speedy Trial Act (Doc. No. 58).
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       IT IS HEREBY ORDERED that:

       1.       Defendant’s Motion for an Extension of The Motions Filing Date (Doc. No.

57) is GRANTED.

       2.       All motions in the above-entitled case must be filed and served consistent

with Federal Rules of Criminal Procedure 12(b) and 47 on or before June 1, 2021. D.

Minn. LR 12.1(c)(1). Counsel are advised that Magistrate Judge Thorson does not

require any courtesy copies related to pretrial motions. Counsel must electronically

file a letter on or before June 1, 2021 if no motions will be filed and there is no need

for hearing.

       3.       All responses to motions must be filed by June 15, 2021. D. Minn. LR

12.1(c)(2).

       4.       Any Notice of Intent to Call Witnesses must be filed by June 15, 2021. D.

Minn. LR. 12.1(c)(3)(A).

       5.       Any Responsive Notice of Intent to Call Witnesses must be filed by June

21, 2021. D. Minn. LR 12.1(c)(3)(B).

       6.       A motions hearing will be held pursuant to Federal Rules of Criminal

Procedure 12(c) where:

                a.    The government makes timely disclosures and Defendant identifies
                      in the motions particularized matters for which an evidentiary
                      hearing is necessary; or

                b.    Oral argument is requested by either party in its motion, objection or
                      response pleadings.



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       7.       In the event a hearing is required, the hearing will be set for August 18,

2021, beginning at 9:00 a.m., either in person in Courtroom 3C, or if Defendant

consents, via video conference. Counsel for the Defendant must file a letter by June 15,

2021, indicating whether their client consents to proceeding with the hearing by video

conference.

       8.       TRIAL

                The trial and other related dates will be set by separate order.

       9.       Based on General Order No. 26, and pursuant to 18 U.S.C.

§ 3161(h)(7)(B)(i) and (iv), the Court finds that the ends of justice served by the

continuance outweigh the best interest of the public and the Defendant in a speedy trial.

Therefore, the time period between March 17, 2020, and June 1, 2021, shall be

excluded from the Speedy Trial Act computations in this case.

IT IS SO ORDERED.




Dated: April 26, 2021                        s/ Becky R. Thorson
                                             BECKY R. THORSON
                                             United States Magistrate Judge




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